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                                        No. 22-1823


                     United States Court of Appeals
                          for the First Circuit
                            ESTADOS UNIDOS MEXICANOS,
                                                        Plaintiff-Appellant,
                                            v.

        SMITH & WESSON BRANDS, INC.; BARRETT FIREARMS MANUFACTURING,
        INC.; BERETTA U.S.A. CORP.; GLOCK, INC.; STURM, RUGER & COMPANY,
          INC.; WITMER PUBLIC SAFETY GROUP, INC., d/b/a Interstate Arms;
           CENTURY INTERNATIONAL ARMS, INC.; BARETTA HOLDINGS SPA;
            GLOCK GES.M.B.H.; COLT’S MANUFACTURING COMPANY, LLC,
                                                  Defendants-Appellees.

                  On Appeal from the United States District Court
                          for the District of Massachusetts
                 No. 1:21-cv-11269-FDS (Hon. F. Dennis Saylor, IV)

                   BRIEF FOR U.S. SENATOR TED CRUZ,
                  U.S. REPRESENTATIVE MIKE JOHNSON,
                  AND 37 OTHER MEMBERS OF CONGRESS
                       AS AMICI CURIAE SUPPORTING
                DEFENDANTS-APPELLEES AND AFFIRMANCE

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            INTRODUCTION AND INTEREST OF AMICI CURIAE1

            Amici    are   United       States      Senators   and     United     States

      Representatives:

            U.S. Senator Ted Cruz
            U.S. Representative Mike Johnson
            U.S. Representative Rick W. Allen
            U.S. Representative Kelly Armstrong
            U.S. Representative Brian Babin
            U.S. Representative Aaron Bean
            U.S. Representative Stephanie Bice
            U.S. Senator Marsha Blackburn
            U.S. Representative Lauren Boebert
            U.S. Representative Mike Bost
            U.S. Representative Josh Brecheen
            U.S. Senator Ted Budd
            U.S. Representative Andrew S. Clyde
            U.S. Representative Tom Cole
            U.S. Representative Eli Crane
            U.S. Representative Warren Davidson
            U.S. Representative Jeff Duncan
            U.S. Representative Ron Estes
            U.S. Representative Mike Ezell
            U.S. Representative Mike Garcia
            U.S. Representative Bob Good
            U.S. Representative Paul A. Gosar

         1 No counsel for any party authored this brief in whole or in part and

      no entity or person, aside from amici and their counsel, made any
      monetary contribution toward the brief’s preparation or submission. The
      parties were given timely notice of amici’s intent to file, and all parties
      have consented to the filing of this brief.
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            U.S. Representative Michael Guest
            U.S. Representative Clay Higgins
            U.S. Representative Ronny L. Jackson
            U.S. Representative Doug LaMalfa
            U.S. Representative Doug Lamborn
            U.S. Representative Anna Paulina Luna
            U.S. Representative Gregory F. Murphy
            U.S. Representative Ralph Norman
            U.S. Representative Mike D. Rogers
            U.S. Representative John Rose
            U.S. Senator Rick Scott
            U.S. Representative Keith Self
            U.S. Representative Pete Sessions
            U.S. Representative Elise M. Stefanik
            U.S. Representative Claudia Tenney
            U.S. Representative Tim Walberg
            U.S. Representative Joe Wilson

            The foreign nation of Mexico is attempting to use federal courts to

      advance a theory of liability for lawful American businesses that would

      vitiate a constitutional right and do so in direct conflict with a law

      Congress passed precisely to prevent such liability.             The Second

      Amendment to the Constitution ensures the right to keep and bear arms

      for law abiding and peaceable American citizens, but it would be

      impossible to exercise that right if a citizen could not lawfully purchase

      a firearm because the firearm industry had become insolvent. Congress



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      passed the Protection of Lawful Commerce in Arms Act to prevent such

      an outcome by placing firearm manufacturers on equal footing with other

      American manufacturers. So long as a firearm is properly made and

      properly transferred into commercial channels, a manufacturer is

      generally not liable if a criminal later misuses that firearm in the

      commission of a crime.

            Amici are U.S. Senator Ted Cruz of Texas, the Ranking Member of

      the Subcommittee on the Constitution, U.S. Representative Mike

      Johnson of Louisiana, the Chairman of the Subcommittee on the

      Constitution and Limited Government, and 37 of their fellow Members

      of Congress in both the Senate and the House of Representatives.

      Members of Congress are called to pass statutes that constitute much of

      the public policy of this Nation, and as such have a substantial interest

      in seeing the judiciary interpret and apply those statutes in the manner

      Congress intended. Amici are Members who recognize the importance of

      the Second Amendment as a fundamental right, and are committed to

      ensuring that Acts of Congress have the desired effect of protecting the

      Second Amendment for future generations of Americans.




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                           SUMMARY OF ARGUMENT

            Mexico’s lawsuit is an affront to the sovereignty of the United

      States of America. It has no place in federal court, and it attempts to

      dragoon American courts to subvert the policy determinations of the

      political branches of the U.S. Government. A nation’s authority on its

      own soil is virtually absolute.    Congress exercised that authority in

      passing the Protection of Lawful Commerce in Arms Act (PLCAA).

      Mexico’s suit disregards those legal principles, trying to impose Mexico’s

      view of law, the right to bear arms, and liability protection on the

      American people.

            Mexico attempts to impose the laws of that foreign nation upon the

      citizens and companies of this nation. This is ironic, given that Mexico’s

      Constitution also provides its citizens have the right to possess firearms

      in their residences for purposes of self-defense. But that nominal right

      is a pale shadow of its American counterpart, subject to severe

      restrictions, coupled with the fact that there is only a single gun store in

      Mexico. That nation’s laws and tradition of the right to own firearms

      bear little resemblance to America’s.




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            This Court cannot do what Mexico asks and be consistent with

       principles of comity: the recognition one nation gives domestically to the

       official acts of another nation, having due regard to international duty

       and the rights of those under the protection of its laws. Accordingly, a

       foreign nation is generally entitled to pursue claims in U.S. courts on the

       same basis as a domestic person might do. Thus, Mexico is entitled to

       pursue firearm manufacturers to the same extent that a U.S. citizen

       could, but no more.

            Contrary to Mexico’s contention, there is no gap in PLCAA’s

       coverage that would allow this suit. PLCAA reaches as far as each

       district court’s jurisdiction, and prevents it at every turn. The theory of

       liability that Mexico argues for U.S. courts to impose upon firearm

       manufacturers here contradicts the clear and unambiguous language of

       PLCAA precluding that liability.

            Mexico’s lawsuit thus disrespects the U.S. Constitution and U.S.

       law. While Mexico may not place much stock in the Second Amendment,

       the right to keep and bear arms is fundamental to our scheme of ordered

       liberty. The right predates the Amendment’s adoption in 1791, but the

       concept of everyday law-abiding citizens being able to own firearms is a

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       distinctly American right. By the time the Fourteenth Amendment was

       ratified in 1868, the right’s focus shifted from concern about an

       oppressive central government to personal protection against criminal

       elements.   But throughout our history and tradition, the right has

       remained fundamental to American liberty.

            The Second Amendment must be construed according to its original

       public meaning.      Anything its plain text covers is presumptively

       protected, placing the burden on the government to demonstrate that a

       restriction is consistent with America’s historical firearm tradition. As

       with other constitutional rights, the Second Amendment is the product

       of interest balancing by the American people and secures the right of law-

       abiding citizens to use arms for lawful purposes.

            Congress passed PLCAA to protect the Second Amendment, as the

       right is practically worthless if the firearms industry goes out of business.

       As with interpreting any statute, begin with PLCAA’s text. Congress’

       enacted findings include that lawful firearm businesses whose products

       “have been shipped or transported in interstate or foreign commerce are

       not, and should not, be liable for the harm caused by” criminals; that

       “imposing liability on an entire industry for harm that is solely caused by

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       others is an abuse of the legal system” and threatens constitutional rights

       under the Second and Fourteenth Amendments; and that such efforts

       “circumvent the Legislative branch of government to regulate interstate

       and foreign commerce.”      15 U.S.C. §§ 7901(a)(5), (6), (8).           Congress’

       express    purpose    was   “[t]o    prohibit    causes    of   action     against

       manufacturers, distributors, dealers, and importers of firearms or

       ammunition” predicated on such theories, in order “[t]o preserve a

       citizen’s access to a supply of firearms and ammunition for all lawful

       purposes.” Id. §§ 7901(a)(1), (2). PLCAA’s legislative history is fully

       consistent with this enacted language.

            This does not leave Mexico without recourse if it has suffered loss.

       Mexico has the full range of diplomatic tools at its disposal. A nation’s

       lawsuit pursued on foreign soil carries foreign-policy implications for

       both nations, which is the province of Congress and the President. As

       with an agreement between nations, grievances become the subject of

       international negotiations and reclamations, resolved through political

       and diplomatic channels.      It is the President’s role to address such

       grievances consistent with law, as the Constitution assigns the President

       primary responsibility for the conduct of foreign relations. Congress left

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       no route for judicial redress here, because Congress made clear that

       firearm companies are not liable for criminal misuse of their products.

            Congress passed PLCAA to prevent precisely this sort of lawsuit.

       Mexico cannot use our courts to evade our own positive law.

                                        ARGUMENT

       I.   Mexico’s Lawsuit is an Affront to American Sovereignty.

            This lawsuit has no place in a court of the United States. It is an

       attempt to coopt the power of the federal judiciary to both circumvent the

       role of Congress and usurp the role of the Executive. It shows disregard

       for the respective roles that the Constitution of the United States has

       assigned to the three branches of the Federal Government, and is an

       affront to the sovereignty of the United States.

            “The authority of a nation within its own territory is absolute and

       exclusive.” Church v. Hubbart, 6 U.S. (2 Cranch) 187, 234 (1804). The

       United States exercised its sovereign prerogative to create and enforce a

       system of laws within its own borders when Congress passed the

       Protection of Lawful Commerce in Arms Act, Pub. L. No. 109-92, 119

       Stat. 2095 (2005) (codified at 15 U.S.C. §§ 7901–03) (PLCAA). That Act




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       of Congress forecloses relief for the Appellant here, as the court below

       correctly held.

            Mexico’s lawsuit disregards the principle of territorial sovereignty

       in both directions. “The laws of no nation can justly expand beyond its

       own territories, except so far as regards its own citizens.” The Apollon,

       22 U.S. (9 Wheat.) 362, 370 (1824); see also The Santissima Trinidad, 20

       U.S. (7 Wheat.) 283, 353–54 (1822). “The Third Restatement provides

       that a State has jurisdiction to prescribe law with respect to ‘conduct

       that, wholly or in substantial part, takes place within its own territory.’

       This is known as subjective territorial jurisdiction….”              Julie Rose

       O’Sullivan, The Extraterritorial Application of Federal Criminal

       Statutes: Analytical Roadmap, Normative Conclusions, and a Plea to

       Congress for Direction, 106 Geo. L.J. 1021, 1031 (2018) (quoting

       Restatement (Third) of the Foreign Relations Law of the United States

       § 402(1)(a) (Am. L. Inst. 1987)). Here, Mexico both ignores Congress’

       prerogative in PLCAA to limit tort liability and Mexico’s constraint to

       focus its legal efforts on persons and events on Mexican soil.




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            A.     Mexico attempts to hijack U.S. courts to subject
                   American citizens to Mexican law, which restricts the
                   right to bear arms.

            Mexico attempts to impose the laws of that foreign nation upon the

       citizens and companies of this nation.        See JA62–64.        Mexico also

       presumes to exempt itself from American law in such a way as to

       manipulate American courts into giving that foreign power what it wants

       here, in violation of clear U.S. law (i.e., PLCAA). See JA64–76.

            Ironically, Mexico’s Constitution provides that its citizens have a

       right to possess firearms in their residences for purposes of self-defense.

       See Constitución Política de los Estados Unidos Mexicanos [Const.], as

       amended, art. X (1917) (Mex.). But rather than the broad individual

       right enshrined in the Second Amendment, “[i]n practice, the right is

       much weaker in Mexico than in the United States.” David B. Kopel,

       Mexico’s Gun-Control Laws: A Model for the United States?, 18 Tex. Rev.

       L. & Pol. 27, 28 (2014). Mexico admits in this lawsuit that “Mexico has

       one gun store in the entire nation and issues fewer than 50 gun permits

       per year.” Compl. ¶ 4 (JA49). The Mexican government confines firearm

       possession to the home, forbids various models and calibers of firearms,

       and has an assortment of other major restrictions. Kopel, supra, at 31–


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       40. This does not resemble the American conception of a constitutional

       right. Compare infra Part II.A.

             Thus, Mexico is trying to diminish the fundamental right to bear

       arms in America to resemble the nominal right to bear arms in Mexico.

       The court below did not allow Mexico to do so, and this Court should not

       allow it, either.

             B.     Principles of comity confine each court to its own
                    territorial jurisdiction.

             Principles of comity in foreign relations do not allow this Court to

       do what Mexico is asking. International comity “is the recognition which

       one nation allows within its territory to the legislative, executive or

       judicial acts of another nation, having due regard both to international

       duty and convenience, and to the rights of its own citizens or of other

       persons who are under the protection of its laws.” Hilton v. Guyot, 159

       U.S. 113, 164 (1895). Each sovereign power on earth must act in a

       manner that shows due respect to its fellow nations. “Comity refers to

       the spirit of cooperation in which a domestic tribunal approaches the

       resolution of cases touching the laws and interests of other sovereign

       states.” Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct. for


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       the S. Dist. of Iowa, 482 U.S. 522, 543 n.27 (1987).             Black’s Law

       Dictionary defines comity as “[a] practice among political entities (as

       countries, states, or courts of different jurisdictions), involving

       esp[ecially] mutual recognition of legislative, executive, and judicial

       acts.” Black’s Law Dictionary 324 (10th ed. 2014).

            These principles govern the resolution of this case. The Supreme

       Court “has long recognized the rule that a foreign nation is generally

       entitled to prosecute any civil claim in the courts of the United States

       upon the same basis as a domestic corporation or individual might do.”

       Pfizer, Inc. v. Government of India, 434 U.S. 308, 318–19 (1978)

       (emphasis added). Indeed, to do otherwise “would manifest a want of

       comity and friendly feeling.” The Sapphire, 78 U.S. (11 Wall.) 164, 167

       (1870).

            That is what Appellees successfully argued below.                Mexico is

       entitled to pursue firearm manufacturers to the same extent that a U.S.

       citizen or a U.S. company could pursue those manufacturers. But PLCAA

       would not allow district courts to entertain a suit by domestic plaintiffs

       seeking to impose the tort liability on the manufacturers that Mexico

       seeks in this case. Domestic plaintiffs could not bring suit for these same

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       alleged injuries. Pfizer allows this Court to allow Mexico to sue only on

       the “same basis” domestic parties could sue, foreclosing Mexico’s claims

       here.

               C.     PLCAA’s reach is coextensive with the reach of U.S.
                      court jurisdiction.

               Bizarrely, Mexico argues that PLCAA does not take away the

       authority of the U.S. District Court for the District of Massachusetts to

       hear this case. But the wording of the statute is clearly to the contrary:

       “A qualified civil liability action may not be brought in any Federal or

       State court.” 15 U.S.C. § 7902(a). PLCAA adds:

               The term ‘qualified civil liability’ means a civil action or
               proceeding or an administrative proceeding brought by any
               person against a manufacturer or seller of a qualified product,
               or a trade association, for damages, punitive damages,
               injunctive or declaratory relief, abatement, restitution, fines,
               or penalties, or other relief, resulting from the criminal or
               unlawful misuse of a qualified product by the person or a third
               party.

       Id. § 7903(5)(A). The statute then provides a number of exemptions, see

       id. § 7903(5)(A)(i)–(vi), but none of those apply here for the reasons

       argued by Appellees and recognized by the court below.

               Mexico has it precisely backward. PLCAA is intended to provide

       protection as far as U.S. courts can reach, consistent with Congress’

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       findings and purposes set forth below in Part II.B. These American

       causes of action do not extend to conduct on Mexican soil, and the foreign

       laws of Mexico do not extend into U.S. courts on U.S. soil. Insofar as any

       cause of action would otherwise obtain on U.S. soil under U.S. or foreign

       law, PLCAA bars it.

             It would be a perverse reading of PLCAA to refuse to give effect to

       the clear and unambiguous language of an Act of Congress that precludes

       that liability. PLCAA’s prohibition on a district court’s adjudicating a

       “qualified civil liability action” such as Mexico’s suit here extends to the

       full extent of the district court’s jurisdictional reach, including

       geographical, personal, and subject-matter jurisdiction. PLCAA applies

       here, and bars Mexico’s suit.

       II.   Mexico is Disrespecting the U.S. Constitution and U.S. Law.

             This lawsuit’s affront to the sovereignty of the United States also

       manifests disrespect to the U.S. Constitution and U.S. statutory law.

       This Court should have none of it.




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            A.     The Second Amendment recognizes a fundamental
                   right to keep and bear arms.

            While Mexico may not place much stock in America’s Second

       Amendment, “the right to keep and bear arms is fundamental to our

       scheme of ordered liberty.” McDonald v. Chicago, 561 U.S. 742, 767

       (2010) (emphasis in original). The Supreme Court in District of Columbia

       v. Heller, 554 U.S. 577 (2008), made “clear that this right is ‘deeply rooted

       in this Nation’s history and tradition.’”     McDonald, 561 U.S. at 767

       (quoting Washington v. Glucksberg, 521 U.S. 702, 721 (1997)). This right

       is antecedent to the Constitution, Heller, 554 U.S. at 603, as Blackstone

       had regarded it as “one of the fundamental rights of Englishmen,” id. at

       594; see also Robert J. Cottrol & Raymond T. Diamond, The Fifth

       Auxiliary Right, 104 Yale L.J. 995 (1995). But the concept of everyday

       law-abiding private citizens being able to own and carry firearms is a

       distinctly American right, as recognized years before Heller.              See

       generally Eugene Volokh, The Commonplace Second Amendment, 73

       N.Y.U. L. Rev. 793 (1998); Nelson Lund, The Past and Future of the

       Individual’s Right to Arms, 31 Ga. L. Rev. 1 (1996). “The right to keep

       and bear arms was considered no less fundamental by those who drafted



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       and ratified the Bill of Rights.” McDonald, 561 U.S. at 768 (citing, inter

       alia, Stephen Halbrook, The Founders’ Second Amendment 171–278

       (2008); Joyce Lee Malcolm, To Keep and Bear Arms: The Origins of an

       Anglo-American Right 155–64 (1994)). That regard continued in the

       Early Republic, illustrated by this view from Justice Joseph Story:

            The right of the citizens to keep and bear arms has justly been
            considered, as the palladium of the liberties of a republic;
            since it offers a strong moral check against the usurpation and
            arbitrary power of rulers; and will generally, even if these are
            successful in the first instance, enable the people to resist and
            triumph over them.

       3 Joseph Story, Commentaries on the Constitution of the United States

       § 1890 (1833), quoted in McDonald, 561 U.S. at 770.

            The decades between the adoption of the Second Amendment and

       the adoption of the Fourteenth Amendment—which extended the right

       to keep and bear arms to apply against the States, id. at 750—saw the

       central concern shift from protection against an all-powerful national

       government that would disarm the people writ large to a concern for

       personal self-defense, see id. at 769–77. This was nothing new. The

       Supreme Court had already held that when the Second Amendment was

       ratified in 1791, individual self-defense was “the central component’” of



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       the right to keep and bear arms. Heller, 554 U.S. at 599. That core

       remained throughout the development of the American Nation, such that

       “it is clear that the Framers and ratifiers of the Fourteenth Amendment

       counted the right to keep and bear arms among those fundamental rights

       necessary to our system of ordered liberty.” McDonald, 561 U.S. at 778.

            The contours of the right to keep and bear arms are the capacious

       metes and bounds of the Second Amendment’s original public meaning.

       “When the Second Amendment’s plain text covers an individual’s

       conduct, the Constitution presumptively protects that conduct.            The

       government must then justify its regulations by demonstrating that it is

       consistent with the Nation’s historical tradition of firearm regulation.”

       N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2129–30

       (2022). This too is nothing new. “The Second Amendment standard

       accords with how we protect other constitutional rights.” Id. at 2130.

       The Second Amendment “is the very product of an interest balancing by

       the people” and it “surely elevates above all other interests the right of

       law-abiding, responsible citizens to use arms” for lawful purposes.

       Heller, 554 U.S. at 635 (emphasis in original). “It is this balance—struck

       by the traditions of the American people—that demands [this Court’s]

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       unqualified deference.” Bruen, 142 S. Ct. at 2131.

            B.     PLCAA was         enacted        to   preserve      the    Second
                   Amendment.

            The Second Amendment is a right on paper only—a practically

       meaningless right—if American citizens are unable to lawfully obtain

       firearms. And firearms will become increasingly harder to procure if they

       are no longer being manufactured because the companies who currently

       do so went out of business. Congress passed PLCAA precisely to obviate

       such an eventuality.

            When interpreting a statute, this Court begins with the statute’s

       text. United States v. Jimenez, 507 F.3d 13, 19 (1st Cir. 2007). As part

       of that task, this Court looks “to the plain meaning of words in the

       broader context of the statute as a whole.” United States v. Godin, 534

       F.3d 51, 56 (1st Cir. 2008) (internal quotation marks omitted). Mexico

       argues that the firearm manufacturers named here are unprotected

       because exceptions to PLCAA’s operative protections apply here.

       Regarding both those points and Mexico’s other arguments, the plain

       words of Congress’ findings and purposes belie Mexico’s position.




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               Congress made several findings relevant here.            One is that

       Congress found:

               Businesses in the United States that are engaged in interstate
               and foreign commerce through the lawful design,
               manufacture, marketing, distribution, importation, or sale to
               the public of firearms or ammunition products that have been
               shipped or transported in interstate or foreign commerce are
               not, and should not, be liable for the harm caused by those
               who criminally or unlawfully misuse firearm products or
               ammunition products that function as designed and intended.

       15 U.S.C. § 7901(a)(5). Another relevant finding is Congress determined

       that:

               The possibility of imposing liability on an entire industry for
               harm that is solely caused by others is an abuse of the legal
               system, erodes public confidence in our Nation’s laws,
               threatens the diminution of a basic constitutional right and
               civil liberty, invites the disassembly and destabilization of
               other industries and economic sectors lawfully competing in
               the free enterprise system of the United States, and
               constitutes an unreasonable burden on interstate and foreign
               commerce of the United States.

       Id. § 7901(a)(6). Directly on point regarding suing American companies

       for the illegal conduct of others occurring on Mexican soil, Congress found

       that such lawsuits are based on theories:

               without foundation in hundreds of years of the common law
               and jurisprudence of the United States and do not represent
               a bona fide expansion of the common law. The possible
               sustaining of these actions by a maverick judicial officer or

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            petit jury would expand civil liability in a manner never
            contemplated by the framers of the Constitution, by Congress,
            or by the legislatures of the several States. Such an expansion
            of liability would constitute a deprivation of the rights,
            privileges, and immunities guaranteed to a citizen of the
            United States under the Fourteenth Amendment to the
            United States Constitution.

       Id. § 7901(a)(7). As a final point, Congress found:

            The liability actions commenced or contemplated by the
            Federal Government, States, municipalities, private interest
            groups and others attempt to use the judicial branch to
            circumvent the Legislative branch of government to regulate
            interstate and foreign commerce through judgments and
            judicial decrees thereby threatening the Separation of Powers
            doctrine and weakening and undermining important
            principles of federalism, State sovereignty and comity
            between the sister States.

       Id. § 7901(a)(8) (emphases added).

            All this is consistent with Congress’ express purposes for the

       statute. As relevant to this litigation, the purposes of PLCAA include:

            To prohibit causes of action against manufacturers,
            distributors, dealers, and importers of firearms or
            ammunition products, and their trade associations, for the
            harm solely caused by the criminal or unlawful misuse of
            firearm products or ammunition products by others when the
            product functioned as designed and intended.

       Id. § 7901(b)(1). Of critical importance, Congress intended PLCAA “[t]o

       preserve a citizen’s access to a supply of firearms and ammunition for all



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       lawful purposes.” Id. § 7901(b)(2). And specific to Congress’ power to

       regulate commerce, U.S. Const. art. I, § 8, cl. 3, yet another purpose is

       [t]o prevent the use of such lawsuits to impose unreasonable burdens on

       interstate and foreign commerce.” 15 U.S.C. § 7901(b)(4).

            The enacted text is controlling here. And this reading of the text is

       further supported by legislative history, as Members of Congress likewise

       explained what they were doing in passing PLCAA. One of the authors

       of the bill, Congressman Cliff Stearns, called PLCAA’s protection against

       suits like Mexico’s an “obvious idea,” explaining,

            After all, would we hold a car company responsible if a driver
            gets drunk or reckless and hits somebody with a vehicle? Of
            course not. This is the United States of America where we are
            responsible for our own actions; but yet these frivolous
            lawsuits against a vital, legitimate and perfectly lawful
            industry have continued unabated for the last several years
            in the simple hope of bankrupting this industry.

       151 Cong. Rec. H8998 (daily ed. Oct. 20, 2005) (statement of Rep.

       Stearns). House Judiciary Committee Chairman Jim Sensenbrenner

       said of the litigation costs in fighting back against the sort of litigation

       that Mexico brought here, “[t]he legal fees alone are enough to bankrupt

       the industry.” Id. at H8993 (statement of Rep. Sensenbrenner). Vice

       President (then-Congressman) Mike Pence agreed, explaining, “By

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       passing this bill, Congress will prevent one or a few State courts from

       bankrupting the national firearms industry with baseless lawsuits.” Id.

       at H8999 (statement of Rep. Pence).

            President George W. Bush understood this well as he prepared to

       sign PLCAA into law. As the President explained when the legislation

       passed the U.S. House of Representatives:

            Our laws should punish criminals who use guns to commit
            crimes, not law-abiding manufacturers of lawful products.
            This legislation will further our efforts to stem frivolous
            lawsuits, which cause a logjam in America’s courts, harm
            America’s small businesses, and benefit a handful of lawyers
            at the expense of victims and consumers.

       Statement on House of Representatives Passage of the Proposed

       “Protection of Lawful Commerce in Arms Act,” 41 Weekly Comp. Pres.

       Doc. 1566 (Oct. 20, 2005). So from its passage through Congress to

       approval by the President, the recurring impetus for PLCAA was to

       prevent products-liability litigation of the sort here, where the firearms

       were lawfully manufactured, had no defects, and were properly

       transferred from the manufacturer into streams of lawful commerce.

            PLCAA would not permit a U.S. plaintiff to bring this suit in district

       court against U.S. firearms manufacturers for purported injuries such as



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       these if they were suffered by U.S. citizens on U.S. soil invoking U.S. law.

       For all these reasons, it follows a fortiori that PLCAA does not permit a

       foreign plaintiff to bring this suit in district court for these purported

       injuries suffered by foreign citizens on foreign soil invoking not only U.S.

       law, but also foreign law. PLCAA bars this suit.

            C.     This matter is a foreign policy dispute properly
                   handled through diplomacy, not domestic litigation.

            None of this is to say that if Mexico considers itself aggrieved by the

       American firearms industry that Mexico has no recourse. Quite the

       contrary, Mexico has the full range of diplomatic tools at its disposal.

       That is where this complaint would be properly directed: to the U.S.

       Department of State, with the goal of bringing it to the attention of the

       White House. If Mexico believes the United States is not meeting its

       international obligations, then the President of Mexico should seek action

       from the President of the United States.

            Foreign policy is committed to the political branches of Congress

       and the Executive. Oetjen v. Central Leather Co., 246 U.S. 297, 302

       (1918). In dealings between sovereign nations, an “infraction becomes

       the subject of international negotiations and reclamations,” such that the



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       Supreme Court regards it as “obvious that with all this the judicial courts

       have nothing to do and can give no redress.” Head Money Cases, 112 U.S.

       580, 598 (1884). In other words, such disputes are resolved through

       “political and diplomatic negotiations.” Medellin v. Texas, 552 U.S. 491,

       520 (2008).

            The President addresses such international grievances as part of

       his power to resolve claims against the United States. See Am. Ins. Ass’n

       v. Garamendi, 539 U.S. 396, 415 (2003). Indeed, the Constitution tasks

       the President with the “‘vast share of responsibility for the conduct of our

       foreign relations.’” Id. at 414 (quoting Youngstown Sheet & Tube Co. v.

       Sawyer, 343 U.S. 579, 610–11 (1952) (Frankfurter, J., concurring)).

       “Such considerations, however, do not allow [courts] to set aside first

       principles. The President’s authority to act, as with the exercise of any

       governmental power, ‘must stem either from an act of Congress or from

       the Constitution itself.’” Medellin, 552 U.S. at 524 (quoting Youngstown,

       343 U.S. at 585).

            However, Congress left no channel for any such purported

       international obligation here to be brought in district court.           It is

       Congress’ prerogative to make international obligations binding in U.S.

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       courts. Foster v. Neilson, 27 U.S. (2 Pet.) 253, 315 (1829). Moreover,

       unless international agreements include language that speaks to judicial

       remedies, the default presumption is that the only remedies for

       grievances are diplomatic. See Sanchez-Llamas v. Oregon, 548 U.S. 331,

       347 (2006). Without a clear statement in a statute, obligations under

       international agreements are not enforceable in U.S. district courts.

       Kiobel, 569 U.S. at 115–16. And there is no agreement here, anyway.

             Even if there were, the only clear statements are to the contrary.

       Congress found that “[b]usinesses … engaged in … foreign commerce …

       of firearms … that have been shipped or transported in … foreign

       commerce are not, and should not, be liable for the harm caused by those

       who      criminally   or   unlawfully       misuse     firearm        products.”

       15 U.S.C. § 7901(a)(5). “The possibility of imposing liability on an entire

       industry for harm that is solely caused by others … constitutes an

       unreasonable burden on … foreign commerce.” Id. § 7901(a)(6). Such

       lawsuits “attempt to use the judicial branch to circumvent the Legislative

       branch of government to regulate interstate and foreign commerce

       through judgments and judicial decrees.” Id. § 7901(a)(8). Therefore, one

       of Congress’ purposes in PLCAA was “[t]o prevent the use of such

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       lawsuits to impose unreasonable burdens on interstate and foreign

       commerce.” Id. § 7901(b)(4). So Congress did speak clearly: Congress

       clearly did not want lawsuits such as Mexico’s lawsuit here to be

       adjudicated in U.S. courts.

                                     CONCLUSION
            Congress passed PLCAA to prevent precisely this sort of lawsuit.

       For the foregoing reasons, and for those set forth by Appellees, the

       judgment of the District Court should be affirmed.

                                         Respectfully submitted,

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            The foregoing brief complies with the type-volume limitation of Fed.
       R. App. P. 29(a)(5) and 32(a)(7)(B) because it contains 5,032 words,
       excluding the parts of the brief exempted by Fed. R. App. P. 32(f).

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